'1   Case~· 3:18-cv-07802-BRM-TJB Document 21-1 Filed 04/22/19 Page 1 of 2 PageID: 173




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                                               UNITED STATES DISTRICT COURT
                                              FOR THE DISTRICT OF NEW JERSEY

                                               CIVIL ACTION NO.:,:) i-c-'1 /-01~" ~t/Y\                     fJ_B


                                                                           Certification in Support of Motion



           v.




                                                                          , of full age, being duly sworn according to

            law, upon my oath depose and say:


            1.       I am the petitioner in the above captioned matter.

           2.
                     ~~Q d;yJ u ,. ba.. +D RD            Af'\-e cb\ I\)~ tn'-1      eo)~r,   1 i tJt     A" ri B ce.~ \\-;I\~
                     AY17MJ\I~ l.tis:t n,s:>clt"t-\S                 w    pro02.-e d ~9°'\~ S"t 1:\!\S'1,...~ -)G\bee.rv~;l\} -
          . 3.       '"? -rtoR, . i f n.o cf ~ e..~v~\ l f:\ w D~\l\S~~rJ ! otJ \:i-d-~1 0£
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                     oc:t~  -z..o,~ Qs:oeswrx~ @C'k-!J.Q.d- ~ .Su, ~ j - 1>oct.e±: J'Dtztt:f,.0S1lf~l 8
                 · I I!:,. ~ 1.so 121 "' "- ·, :l:W 11:M;c :o.l , e, I"\£ ,Id.~ N'j o ttl! &: \'M~t&S 1 .
                 ~                                  .          ~                                .

           4.      Co,t-.rz.c+ C&K >-0\ ut~o At'-roo,41\,M\{ Wha::Jti DJ@,crlJ c?N1J'Ae19~ ....
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                  .:\""
                       1
                           CD   IAlq\tioJ-9   ~N o~tl:f,~          :{s) k.Q.   it   rt· wb>         Q\ f p&>'\f'Q,. cl·· ·
           5.    .. \;-\~W'l..\fO\      ;rr-        flJ~   t4 tf/£       LD\lb:$ 0.1r1A\'Q           "    i1lg,s.Q lb\1\--
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          . '    ,


                              Certification in Support of Motion
                              page two of two



                              6.



                              7.        b'i'i~54t)t\ ~ s\Jf\         ?vA];- "J;,ct\\ Lp.~·n·O~ e,,rs~ w \..~ LI) ~ ~   t\-\.€
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                              8.                               I\Ncl l\: 1\4\S' D,s,'f;c_r \A)\)\
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                              9.       <S) M!2,(/,,o;,0, /\IQ[j\   lff~ICSl. \ triJ2 N@~R.tt :IT, Ses,k<J 0 S
                                                                                 ~1):)R.d                                       .
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                                   }tol/\t,'<J .t o~ NS. cu: \.t~ qhl-5'- ,4.1\d 'f12. dY\ll[A1,, ~ of. l~~81h Al'\iwd- 'I,{) lr-,,tA, "J
                                   i rqij C:~rl be,Jo~~~d w \tH STf\t--£. To~;
                                                             CERTIFICATION'IN LIEU OF OATH
                            I certify that the foregoing statements made by me are true. I am aware that if any of the
                     foregoing statements made by me are willfully false,' I am subject to punishment. ·




                     Dated:
